             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 1 of 67




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT



NATIONAL INSTITUTE OF
FAMILY AND LIFE ADVOCATES;
ASPIRE TOGETHER, INC., d/b/a
ASPIRE NOW; BRANCHES
PREGNANCY RESOURCE
CENTER, INC.,
                                               FIRST AMENDED COMPLAINT
            Plaintiffs,                                  FOR
                                                   DECLARATORY AND
       v.                                          INJUNCTIVE RELIEF

CHARITY CLARK, in her official                Case No. _____________2:23-cv-00229-     Formatted: Font: Bold
capacity as Attorney General of the                           wks
State of Vermont; SARAH
COPELAND HANZAS, in her official
capacity as Secretary of the State of
Vermont; KEVIN RUSHING, in his
official capacity as Director of the Office
of Professional Regulation; MARK
LEVINE, in his official capacity as the
Commissioner of Health of the State of
Vermont; The Individual Members
of the VERMONT BOARD OF
MEDICAL PRACTICE, in their
official capacities; The Individual
Members of the VERMONT STATE
BOARD OF NURSING, in their
official capacities; and COURTNEY
BOWERS, in her official capacity as
Naturopathic Physician Advisor,

             Defendants.

                             AMENDED COMPLAINT

      NOW COME Plaintiffs National Institute of Family and Life Advocates
(“NIFLA”), Aspire Together, Inc. (“Aspire”), and Branches Pregnancy Resources

Center (“Branches”), by and through their undersigned attorneys, for their Complaint
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 2 of 67




for Injunctive and Declaratory Relief against the Defendants Attorney General

Charity Clark, Secretary of State Sarah Copeland Hanzas, Director of the Office of

Professional Regulation Kevin Rushing, Commissioner of Health Mark Levine, the
individual members of the Board of Medical Practice, the individual members of the

State Board of Nursing, and Naturopathic Physician Advisor Courtney Bowers, in
their official capacities, and allege as follows:

                                   INTRODUCTION

       1.     This case is a challenge by pro-life pregnancy services centers and their

membership organization to a state law that unconstitutionally restricts the centers’
speech and provision of services. Pregnancy services centers in Vermont offer women

both medical and non-medical information and services and do so free of charge. They
empower women who are or may be pregnant to choose to give birth in circumstances

where they wish to do so but feel they do not have the necessary resources or social
support. They also provide support and resources for new mothers and families in

need of assistance.
       2.     On May 10, 2023, Governor Phil Scott signed Senate Bill No. 37 (“SB

37”), attached hereto as Exhibit A. That law impedes the ability of pro-life pregnancy

centers to continue providing help and support to Vermont women and families in
two ways: First, it censors the centers’ ability to advertise their free services
(Advertising Prohibition). Second, it precludes centers from offering non-medical

services, information, and counseling unless provided by a licensed health care

provider (Provider Restriction).
       3.     Plaintiffs request that this Court issue declaratory and injunctive relief

against the enforcement of SB 37 because it violates the First and Fourteenth

Amendments to the U.S. Constitution by imposing vague and viewpoint-

discriminatory laws that target speech and conduct and are not narrowly tailored to

any asserted state interest.


                                             2
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 3 of 67




                          JURISDICTION AND VENUE

      4.     This action arises under 42 U.S.C. section 1983 et. seq. (the “Civil Rights

Act”); the First and Fourteenth Amendment to the U.S. Constitution.
      5.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. sections

1331, 1343, and 1367.
      6.     The Court has jurisdiction to issue the requested declaratory relief

pursuant to 28 U.S.C. sections 2201 and 2202, and Federal Rule of Civil Procedure

57.

      7.     The Court has jurisdiction to award the requested injunctive relief
under 5 U.S.C. sections 702 and 703, 20 U.S.C. section 1683, 28 U.S.C. section

1343(a)(3), and Federal Rule of Civil Procedure 56.
      8.     The Court has jurisdiction to award reasonable attorneys’ fees and costs

under 42 U.S.C. section 1988.

                                      PARTIES
Plaintiff National Institute of Family and Life Advocates

      9.     Plaintiff National Institute for Family and Life Advocates (NIFLA) is a

religious not-for-profit corporation duly incorporated under the laws of Virginia, with
its principal place of business at 5610 Southpoint Ct. Blvd., # 103, Fredericksburg,
VA 22407.

      10.    NIFLA comprises member pregnancy centers from across the nation.

      11.    NIFLA has seven member facilities in Vermont, including Aspire and

Branches, that are regulated by SB 37.

      12.    NIFLA provides its pregnancy center members with legal resources and
counsel, with the aim of developing a network of life-affirming ministries in every

community across the nation, in order to achieve an abortion-free America.




                                           3
               Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 4 of 67




      13.    NIFLA’s mission is to empower the choice for life by equipping

pregnancy centers with legal counsel and support, enabling pregnancy centers to

convert to and maintain medical clinic status, and energizing pregnancy centers with
a renewed vision for the future.

      14.    NIFLA members do not provide or refer for abortions or emergency
contraception.

      15.    NIFLA’s Vermont members offer free services, such as pregnancy tests,

counseling and information concerning pregnancy options, and material support to

new mothers.
      16.    Some of NIFLA’s Vermont members also provide medical services, such

as ultrasounds or sonograms.
      17.    The Vermont members of NIFLA that offer medical services, including

limited obstetric ultrasounds, do so under the direction of a licensed Vermont
physician serving as medical director of the facility.

      18.    NIFLA’s Vermont members advertise their services through handouts
and brochures, newspaper or magazine ads, television commercials, social media, and

other online ads.

      19.    None of NIFLA’s Vermont members condition their employees’
compensation on the number of clients obtained through advertising.
      20.    NIFLA asserts organizational standing on behalf of its Vermont

members, whose ability to advertise and provide services, counseling, and

information are impeded by SB 37. See N.Y. State Club Ass’n v. City of New York, 487
U.S. 1, 9 (1988).

      21.    These members have standing to sue in their own right.

      22.    And the interests that NIFLA seeks to protect are germane to NIFLA’s

purposes, including supporting pro-life pregnancy center members and enabling




                                           4
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 5 of 67




them to carry out their missions consistent with their pro-life and religious

viewpoints.

      23.     Neither the claims asserted nor the relief requested requires the
participation of all of NIFLA’s individual members in Vermont, but can be awarded

to those NIFLA members as a group.
Plaintiff Aspire Now

      24.     Plaintiff Aspire Together, Inc., d/b/a Aspire Now (“Aspire”) is a faith-

based not-for-profit corporation duly incorporated under the laws of Vermont.

      25.     Aspire operates a pregnancy services center located at 5399 Williston
Rd. Suite 207, Williston, VT 05495. It also operates a mobile unit that travels around

Franklin, Chittenden, and Washington Counties.
      26.     Aspire’s primary purpose is to offer life-affirming alternatives to

abortion and compassionate counsel to those who face unexpected pregnancy,
abortion-related issues, or decisions concerning sexual relationships by educating

and supporting them through the process of making informed choices.
      27.     Aspire offers free services to pregnant women, including STD testing,

pregnancy testing, ultrasounds, pregnancy options counseling, parenting classes,

post-abortion support, sexual risk avoidance counseling, and healthy relationship
coaching, along with material support, such as diapers, wipes, diaper bags, layettes,
and gift cards.

      28.     Aspire also provides financial assistance to clients who need help with

rent, housing, or transportation.
      29.     Aspire   does   not   provide   abortions   or   so-called   “emergency

contraception.” Nor does it provide referrals to clients for abortions or “emergency

contraception.”

      30.     Aspire currently advertises its services through television commercials

and , Google ads, social media, and its website.


                                          5
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 6 of 67




      31.     In the past, it has also advertised its services through newspapers,

magazines, and the University of Vermont student planner.

      32.     Aspire also distributes handouts and brochures from both its pregnancy
center and its mobile clinic.

      33.     Aspire operates a website located at https://aspire-now.org/.
      34.     That website includes a disclaimer that states: “We do not refer or

perform any services that harm the viability of life.”
      35.     Aspire’s website advertises “professional health care for women” and
includes a link to schedule an appointment at its health center.

      36.     The website also includes information about abortion generally, the

abortion pill, at-home abortion, adoption, and parenting.
      37.     Aspire does not condition its employees’ compensation on the number of
clients obtained through advertising.

      38.     Licensed nurses provide all pregnancy tests, ultrasounds, and STD tests

at Aspire.
      39.     Aspire’s Medical Director Dr. Jessica Whelan, a naturopathic physician
licensed in Vermont, reviews all ultrasounds and meets with at-risk patients and

patients who are interested in learning about natural family planning.

      40.     Non-medical staff and volunteers provide peer counseling, support, and
well-pregnancy and parenting education at Aspire.
      41.     Aspire asserts standing on behalf of itself and on behalf of its staff and

volunteers.

Plaintiff Branches Pregnancy Center, Inc.
      42.     Plaintiff Branches Pregnancy Resource Center (“Branches”) is a faith-

based not-for-profit corporation duly incorporated under the laws of Vermont and is

located at 26 Birge Street, Brattleboro, VT 05301.




                                           6
               Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 7 of 67




      43.    Branches’ primary purpose is to provide free, confidential, practical,

emotional, educational, and spiritual support to women, men, and children who are

facing pregnancy- and abortion-related concerns.
      44.    Branches offers free services to pregnant women, including pregnancy

tests, peer counseling, information about abortion procedures and risks, information
about abortion alternatives, abstinence education, post-abortion support, parenting

classes, free baby and maternity items, help for victims of human trafficking, and

other related programs and services.

      45.    Branches does not provide abortions or so called “emergency
contraception.” Nor does it provide referrals to clients for abortion or emergency

contraception.
      46.    Branches    advertises     its     services   through   brochures,    television
commercials, social media, and its website.

      47.    Branches distributes brochures concerning its services, pregnancy
generally, drug use and pregnancy, the morning-after pill, the abortion pill, healthy

relationships, domestic violence, and human trafficking both at its center and around

the community. Branches also distributes the “healthy relationships” brochure at a
local high school and at local churches.
      48.    Branches operates a website located at https://branchesprc.com/.

      49.    That website includes a disclaimer that states: “Branches Pregnancy

Resource Center does not offer or refer for pregnancy terminations or birth control.

Information is provided as an educational service and should not be relied on as a
substitute for professional and/or medical advice.”

      50.    Branches’   website      invites     women     experiencing   an     unexpected

pregnancy to “[c]all us to empower yourself with knowledge and make your best
decision,” and includes a phone number that potential clients may call to make an

appointment.


                                              7
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 8 of 67




       51.   The   website     also   includes    information   concerning   pregnancy,

“emergency contraception,” abortion, adoption, and parenting.

       52.   Branches does not condition its employees’ compensation on the number
of clients obtained through advertising.

       53.   Branches is not currently a medical clinic and does not provide medical
services, including ultrasounds, sonograms, or prenatal care.

       54.   Branches is in the process of becoming a medical clinic, but that

transition will not happen until 2025.

       55.   Branches has an ultrasound machine, but it does not currently use that
machine, and it stores that machine in a room that is not accessible to its clients.

       56.   Branches also has a closet in which it hopes to store medical supplies in
the future, but that closet is currently empty.

       57.   No one at Branches wears medical attire or uniforms, and Branches does
not have examination tables.

       58.   Nor does Branches share space with any medical provider or medical
facility.

       59.   However, Branches does offer over-the-counter urine pregnancy tests,

which are facilitated by its non-medical staff and volunteers. When a client at
Branches believes she may be pregnant, a staff member or volunteer will hand her a
pregnancy test. The client will take the pregnancy test alone in the center’s bathroom.

When she finishes, the client reads the results of the test herself, and if the test is

positive, a Branches staff member or volunteer will discuss her options with her.
       60.   Branches’ staff and volunteers also provide information to women

concerning their pregnancy options and talk with and offer counsel to women about

their decision.

       61.   Branches collects pregnancy-related information from its clients,

including the date of the client’s last period, whether she has had previous


                                           8
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 9 of 67




pregnancies and how many, whether she has had previous miscarriages and how

many, and whether she has had previous abortions and how many. This information

helps Branches’ staff and volunteers to be more sensitive to their clients’ needs by
tailoring their counseling and other services to a client’s particular situation.

      62.    Branches asserts standing on behalf of itself and its staff and volunteers.
Defendant Attorney General Clark

      63.    Defendant Charity Clark is named in her official capacity as Attorney

General of the State of Vermont.

      64.    The Attorney General has the “authority to make rules, conduct civil
investigations, and bring civil actions” with respect to violations of SB 37’s

Advertising Prohibition. 9 V.S.A. § 2493(c).

Defendant Secretary of State Hanzas
      65.    Defendant Sarah Copeland Hanzas is named in her official capacity as
Secretary of State of the State of Vermont.
      66.    The Secretary of State oversees the Office of Professional Regulation,

which licenses naturopathic physicians and nurses. 3 V.S.A. § 122.

      67.    The licensing boards and advisors contained within the Office of
Professional Regulation have the power to enforce SB 37’s Provider Restriction. Id.
§ 129a; 9 V.S.A. § 2493(b).

Defendant Director of the Office of Professional Regulation Rushing

      68.    Defendant Kevin Rushing is named in his official capacity as the

Director of Vermont’s Office of Professional Regulation.

      69.    The Office of Professional Regulation licenses many Vermont
professionals, including naturopathic physicians and nurses. 3 V.S.A. § 122.




                                           9
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 10 of 67




       70.    Director Rushing, along with the licensing boards and advisors

contained within the Office of Professional Regulation, has the power to enforce SB

37’s Provider Restriction. Id. § 129a; 9 V.S.A. § 2493(b).
Defendant Commissioner of Health Levine

       71.    Defendant Mark Levine is named in his official capacity as the
Commissioner of Health of the State of Vermont.

       72.    The Commissioner of Health oversees Vermont’s Department of Health,

18 V.S.A. § 4, which has the power to “supervise and direct the execution of all laws

relating to public health,” id. § 1.
       73.    The Department of Health houses Vermont’s Board of Medical Practice,

26 V.S.A. § 1351(c), which has the power to enforce SB 37’s Provider Restriction
against medical doctors (M.D.s). 9 V.S.A. § 2493(b); 26 V.S.A. § 1354.

Defendants Members of the Board of Medical Practice
       74.    The individual members of Vermont’s Board of Medical Practice are

named in their official capacities: Richard Bernstein, Richard Clattenburg, David
Coddaire, Gail Falk, Matthew Greenberg, Rick A. Hildenbrant, Patricia Hunter,

Suzanne Jones, Leo LeCours, David Liebow, Stephanie Lorentz, Sarah McClain,

Christine Payne, Marga Sproul, Margaret Tandoh, and Robert E. Tortolani.
       75.    The Board of Medical practice licenses medical doctors (M.D.s), 26
V.S.A. § 1353, and has the power to enforce SB 37’s Provider Restriction against

medical doctors (M.D.s). 9 V.S.A. § 2493(b); 26 V.S.A. § 1354.

Defendants Members of the State Board of Nursing
       76.    The individual members of Vermont’s State Board of Nursing are named

in their official capacities: Jennifer Lyon, Daniel Coane, Matthew Choate, Ginger

Gillette-Kent, Jennifer Laurent, Kelly Sinclair, Krystal Bernier, Luana Tredwell,

William “Jamie” Floyd, and Deborah Belcher.




                                          10
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 11 of 67




        77.   The State Board of Nursing licenses nurses, 3 V.S.A. § 129, and has the

power to enforce SB 37’s provider restriction, id. § 129a; 9 V.S.A. § 2493(b).

Defendant Naturopathic Physician Advisor Bowers
        78.   Defendant Courtney Bowers is named in her official capacity as

Vermont’s Naturopathic Physician Advisor.

        79.   The Naturopathic Physician Advisor has the power to assist the Director
of the Office of Professional Regulation in investigating alleged violations of SB 37’s

Provider Restriction by naturopathic physicians. 3 V.S.A. §§ 129, 129a; 9 V.S.A.
§ 2493(b).

                            FACTUAL BACKGROUND

I.      Pregnancy Services Centers

        80.   Thousands of pro-life pregnancy centers across the country provide free

services, resources, information, and emotional and professional support to women
and families facing unexpected pregnancies—no matter what choice they ultimately

make.
        81.   Many of these centers also provide medical services, such as ultrasounds
or STD testing and treatment, as well as post-abortion healing and counseling and

adoption services.

        82.   Often pregnancy centers also provide training and support for fathers so
that women will be supported by their partners and children by both parents.

        83.   In 2019 alone, 2,700 U.S. pregnancy centers served roughly two million

women, men, and youth with services valued at over $266 million. 1


1 Moira Gaul, Fact Sheet: Pregnancy Centers – Serving Women and Saving Lives

(2020 Study), Charlotte Lozier Institute (July 19, 2021),
https://lozierinstitute.org/fact-sheet-pregnancy-centers-serving-women-and-saving-
lives-2020/.


                                          11
               Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 12 of 67




       84.     Vermont is home to eight pro-life pregnancy centers, including Aspire

and Branches. Seven of those centers are NIFLA members, including Aspire and

Branches.
       85.     In 2022, Vermont pro-life pregnancy centers served over 476 male and

female clients;, performed 176 ultrasounds, 183 pregnancy tests, and 59 STD/STI
tests;, and taught 617 educational classes, saving Vermont communitiesthe

community over $395,770.00. 2

       86.     Unlike abortion clinics, which have a financial interest in performing as

many abortions as possible, most pro-life pregnancy centers, including Aspire and
Branches, charge nothing for their services, meaning that they do not financially
benefit from any choice a woman makes.

       87.     The medical journal Contraception published a study showing that pro-

life pregnancy centers offer more efficient help at a lower cost than abortion facilities. 3
It found that pro-life pregnancy centers have shorter wait times and are more

available for same-day care. It also states that abortion facilities almost always

charge for pregnancy tests and ultrasounds—while pro-life centers almost always
offer these services for free.
       88.     For both Care Net and Heartbeat International (two pregnancy center

associations representing about 2,100 centers), client exit surveys show a 99%

satisfaction rate. 4

       89.     Aspire is an affiliate of both Care Net and Heartbeat International.


2
  Pregnancy Center Coalition of Northern New England, 2022 Impact Report for
Vermont.
3 Kavita Vinekar, et al., Early pregnancy confirmation availability at crisis

pregnancy centers and abortion facilities in the United States, 117 Contraception 30,
30–35 (2023), available at
https://www.sciencedirect.com/science/article/abs/pii/S0010782422002451.
4 Supra n.1.




                                            12
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 13 of 67




      90.    Branches is an affiliate of Care Net.

      91.    In the six months following the Supreme Court’s decision in Dobbs v.

Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022), which overturned Roe
v. Wade, an estimated 32,000 additional babies have been saved from abortions,

compared to the expected number had Roe not been overturned. 5
      92.    Consequently, the role of pro-life pregnancy centers has become even

more important to support the mothers and families of these babies.

II.   Senate Bill No. 37

      93.    On May 10, 2023, Governor Phil Scott signed Senate Bill No. 37
(attached as Exhibit A), “[a]n act relating to access to legally protected health care

activity and regulation of health care providers,” into law.
      94.    Section 8 of SB 37 adds a subchapter to Title IX of the Vermont Statutes,
which deals with commerce and trade, regulating “pregnancy services centers.”

      95.    The legislature stated in its subsection on findings and legislative intent

in Section 8 of SB 37 that “[c]enters that seek to counsel clients against abortion . . .
have become common across the country, including in Vermont” and that “[f]alse and
misleading advertising by centers that do not offer or refer clients for abortion is of

special concern to the State.” 9 V.S.A. § 2491(a)(1), (3).

      96.    The legislative findings further accuse pregnancy centers of “provid[ing]
confusing and misleading information to pregnant individuals contemplating

abortion by leading those individuals to believe that their facilities offer abortion

services and unbiased counseling” and “promot[ing] patently false or biased medical




5 Deidre McPhillips, There were 32,000 fewer legal abortions in the US in the six

months after the Dobbs decision, new analysis suggests, CNN (April 11, 2023, 3:01
pm), https://www.cnn.com/2023/04/11/health/abortion-decline-post-roe/index.html.


                                           13
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 14 of 67




claims about abortion, pregnancy, contraception, and reproductive health care

providers.” Id. § 2491(a)(2).

      97.    The state interest that Section 8 asserts is “ensur[ing] that the public is
provided with accurate, factual information about the types of health care services

that are available to pregnant individuals in [Vermont].” Id. § 2491(b)(1).
      98.    “Pregnancy services center” is defined broadly to mean “a facility,

including a mobile facility, where the primary purpose is to provide services to

individuals who are or may be pregnant and that either offers obstetric ultrasounds,

obstetric sonograms, or prenatal care to pregnant individuals or has the appearance
of a medical facility.” 9 V.S.A. § 2492(6).

      99.    A facility “has the appearance of a medical facility if two or more of the
following factors are present:” (1) “[t]he center offers pregnancy testing or pregnancy

diagnosis, or both”; (2) “[t]he center has staff or volunteers who wear medical attire
or uniforms”; (3) “[t]he center contains one or more examination tables”; (4) “[t]he

center contains a private or semiprivate room or area containing medical supplies or
medical instruments”; (5) “[t]he center has staff or volunteers who collect health

information from clients”; or (6) “[t]he center is located on the same premises as a

State-licensed medical facility or provider or shares facility space with a State-
licensed medical provider.” Id.
      100.   While the definition of pregnancy center is broad, the operative

regulations in Section 8 single out pro-life pregnancy care centers applying only to

“limited-services pregnancy centers.”
      101.   A “limited-services pregnancy center” is defined as “a pregnancy

services center that does not directly provide, or provide referrals to clients for,

abortions or emergency contraception.” Id. § 2492(5). Section 8 imposes two unlawful

regulations on “limited-services pregnancy centers”: (1) the Advertising Prohibition




                                              14
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 15 of 67




and (2) the Provider Restriction. 9 V.S.A. § 2493 (“the Unfair and Deceptive Act” or

“the Act”).


      A.      The Advertising Prohibition

      102.    First, the Act prohibits “any limited-services pregnancy center” from
“disseminat[ing] or caus[ing] to be disseminated to the public any advertising about

the services or proposed services performed at that center that is untrue or clearly

designed to mislead the public about the nature of services provided.” Id. § 2493(a)

(“the Advertising Prohibition”).
      103.    The Advertising Prohibition explicitly targets pro-life pregnancy centers

by limiting its scope to cover “limited-services pregnancy center[s],” which are those
pregnancy centers that do not provide or refer for abortion or “emergency

contraception.” 9 V.S.A. §§ 2492(5), 2493(a).
      104.    “Advertising” is defined as “representations made directly to consumers;

marketing practices; communication in any print medium, such as newspapers,
magazines, mailers, or handouts; and any broadcast medium, such as television or

radio, telephone marketing, or advertising over the Internet such as through websites

and web ads.” 9 V.S.A. § 2493(a).
      105.    The Advertising Prohibition does not define “misleading.” However,
Section 8’s legislative findings suggest that the legislature was concerned that some

pregnancy centers may not “openly acknowledge in their advertising, on their

websites, and at their facilities that they neither provide abortions nor refer clients
to other providers of abortion services.” Id. § 2491(a)(2). The legislative “findings” in

the Act also state without evidence that “[s]ome limited-services pregnancy centers

have promoted patently false or biased medical claims about abortion, pregnancy,

contraception, and reproductive health care providers.” Id.




                                           15
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 16 of 67




       106.   The Advertising Prohibition also provides that “advertising or the

provision of services by a limited-services pregnancy center” as “an act in commerce”

for purposes of Vermont law, even though Aspire, Branches, and the other NIFLA
members in Vermont do not charge for their goods or services. 9 V.S.A. § 2493(a).

       107.   The Advertising Prohibition is enforced by the attorney general, id.
§ 2493(c), who “may bring an action in the name of the State against” any person who

“is . . . or is about to” violate the Advertising Prohibition “to restrain by temporary or

permanent injunction” that violation “in the Superior Court” of the county in which

[the violator] resides. Id. § 2458(a).
       108.   The attorney general may also request a civil penalty of up to $10,000

for each violation, an order of restitution to consumers, and an order requiring
reimbursement to the State for its expenses investigating and prosecuting the

violation. Id. § 2458(b).
       109.   Private consumers may also sue “for appropriate equitable relief” and

may “recover from the . . . violator the amount of his or her damages, or the
consideration or the value of the consideration given by the consumer, reasonable

attorney’s fees, and exemplary damages not exceeding three times the value of the

consideration given by the consumer.” Id. § 2461(b).
       110.   Aspire, Branches, and NIFLA’s Vermont members are all limited-
services pregnancy centers within the definition of SB 37 and thus subject to the

Advertising Prohibition.

       111.   The Advertising Prohibition provides no guidance as to how it should be
applied to advertisements including medical information on which there is no medical

consensus.

       112.   The Advertising Prohibition is also unclear as to whether it requires a
disclosuredisclosures in some or all advertisements that the pregnancy center does
not provide or refer for abortions or “emergency contraception.”


                                           16
                Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 17 of 67




         113.   At the April 6, 2023, hearing before the House Health Care Committee,
an Assistant Attorney General from the office’s Consumer Protection Division

testified that “[w]hile oftentimes, websites will have a disclaimer that they do not
provide abortion services or abortion referrals, there are crisis pregnancy centers that

do not have that language on their websites, and when you google abortion in
Vermont, their centers do come up and it can be misleading in that respect.” 6

         113.114.     Requiring such a disclosure would compel the centers’ speech.

         115.   Nor is it clear from the text of the Advertising Provision whether such a
disclosure would be a sufficient defense to liability under the Act.

         116.   At the same hearing, one representative opined that Aspire’s website
was not “particularly clear that [Aspire] do[es]n’t have [abortion] services,” merely

because it advertises “abortion information” (emphasis added), even though Aspire’s
website contains a disclaimer stating that it does “not refer or perform any services

that harm the viability of life.” 7

         117.   Aspire also advertises on its website that “[a]t your appointment, you
can learn more about abortion methods, adoption types, pregnancy services, and

parenting resources and talk through your choices without any coercion or cost
involved. We believe every woman deserves a place she can ask questions and get
information without a sales pitch. Because we do not charge for any of our services,

we do not profit from you or any decision you make.” 8




6
 Vt. House Comm. on Healthcare, House Health Care 4-6-2023 – 9:00AM, YouTube,
at 55:08 (April 6, 2023), https://www.youtube.com/watch?v=Say_S_zYIIs.
7
    Id. at 33:00.
8
 AspireNow, Options Consultation,https://aspire-now.org/services/options-
consultation/ (last visited Oct. 25, 2023).


                                            17
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 18 of 67




       118.   Aspire states in one of its Google ads that “[b]ecause we do not profit
from any decision you make, you can talk through your options without pressure or

coercion.” See Exhibit C.
       119.   Another of Aspire’s Google ads states that “If you think you may be

pregnant or have had a positive home test, contact us today for free consultations and
reproductive health services.” Id. A third Google ad states that “we can explore your

next steps, including why having an ultrasound matters, information on abortion and

reproductive health choices, adoption, parenthood, and more.” Id.
       120.   Branches includes similar language on its website, stating that “[o]ur

confidential, cost-free services include . . . [a]bortion [i]nformation.” 9
       121.   Branches also states on its website that “our desire is for you to leave

our office feeling empowered to make the best choice regarding your pregnancy. We
never financially benefit off of your decision and can discuss your options with

absolutely no pressure.” 10

       122.   It is unclear whether these true and accurate statements by Aspire and
Branches might be deemed violations of the Advertising Prohibition if the attorney

general decides the statements “mislead[] . . . individuals to believe that their
facilities offer abortion services and unbiased counseling.” 9 V.S.A. § 2491(a)(2).
       123.   Thus, Plaintiffs face a credible threat of enforcement under the

Advertising Prohibition as to their current advertisements.

       114.124.      The Advertising Prohibition has also chilled Plaintiffs’ speech.

       115.125.      For example, Aspire’s medical director created a video about the

effectiveness of abortion pill reversal that Aspire would like to post on its website.


9
  Branches Pregnancy Resource Center, Services, https://branchesprc.com/services/
(last visited Oct. 25, 2023).
10
  Branches Pregnancy Resource Center, Pregnancy Options,
https://branchesprc.com/pregnancy-options/ (last visited Oct. 25, 2023).


                                             18
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 19 of 67




      126.   Aspire would also like to run a Google ad stating the following: “Even if
an abortion has already begun, give us a call. We can still help you talk through your

options and give you information on abortion pill reversal protocols if you choose to
continue your pregnancy. No one should take away your reproductive choices.”

Exhibit C.
      116.127.     Although abortion pill reversal—i.e., reversing the effects of the

first pill in a chemical abortion (mifepristone, a progesterone antagonist) through

administration of progesterone—has ample scientific backing, it remains a
controversial treatment opposed by abortion providers and abortion advocates.

      117.128.     SB 37 elsewhere prohibits certain health care professionals from
“[p]roviding or claiming to provide services or medications that are purported to

reverse the effects of a medication abortion.” 3 V.S.A. § 129a(a)(29). This suggests
that the Advertising Prohibition’s broad language might sweep in information about

progesterone therapy for women who have taken mifepristone but now wish to

continue their pregnancy.
      129.   While Aspire has no intention of violating that provision by providing or

claiming to provide abortion pill reversal treatment itself, given that SB 37 deems
abortion pill reversal illegal, the Advertising Prohibition’s broad language might
sweep in advertisements offering information or counseling about APR, i.e.,

progesterone therapy for women who have taken mifepristone but now wish to

continue their pregnancy, or stating that such treatment is safe and effective.

      118.130.     Aspire has not yet posted the video on its website or run its Google

ad due to fear that doing so may subject Aspire or its medical director to penalties

under the Advertising Prohibition.
      119.131.     Similarly, Branches used to distributealthough Branches has

never performed or claimed to provide abortion pill reversal, Branches previously
distributed a contact card both at its center and to the public providing the phone


                                         19
                Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 20 of 67




number for the abortion pill reversal hotline (attached as Exhibit B).), which in turn
connects clients with out-of-state providers of abortion pill reversal.

         132.   After SB 37 was enacted, Branches has ceased distributing the abortion
pill reversal contact card for fear that doing so may subjectmight have subjected

Branches to penalties under the Advertising Prohibition.

         133.   In their motion to dismiss, Defendants took the position that “[n]othing
in Vermont law prevents Plaintiffs from distributing information about services

provided elsewhere, so long as they do not falsely claim to provide that service
themselves.” ECF No. 39 at 6. However, Defendants did not disclaim enforcement of

the Advertising Provision more generally.
         120.134.     Branches has since resumed distributing the abortion pill

reversal contact card. Thus, Branches now faces a credible threat of enforcement
under the Advertising Provision as to its distribution of the contact card. See Bella

Health & Wellness v. Weiser, No. 1:23-cv-00939, slip op. at 23–24 (D. Colo. Oct. 21,

2023).
         121.135.     Aside from chilling Plaintiffs’ speech, the State has not explored

other avenues, such as a public-information campaign, of advancing its supposed

interests in the Advertising Prohibition of “ensur[ing] that the public is
provideprovided with accurate, factual information about the types of health care
services that are available to pregnant individuals in this State.” 9 V.S.A. §

2491(b)(1).

         122.136.     In fact, Planned Parenthood of Northern New England’s Vice

President of Vermont Public Affairs, Ms. Lucy Leriche, encouraged the legislature

not to include Section 8 of SB 37 during her testimony to the Senate Committee on
Health and Welfare for these very reasons. Ms. Leriche testified that “[w]hile we

don’t, we definitely don’t, oppose this type of provision, we generally um, we generally

advise that the benefit is relatively low and the risk of litigation is significant. We


                                            20
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 21 of 67




therefore encourage this committee to focus on alternative approaches to targeting

Crisis Pregnancy Centers.” An Act Relating to Access to Legally Protected Health Care

Activity and Regulation of Health Care Providers: Hearing on S.37 Before the S.
Comm. on Health and Welfare (Vt. 2023) (statement by witness Ms. Lucy Leriche).

Ms. Leriche cautioned the legislature because Section 8 of SB 37 “align[ed]” with a
Connecticut bill in which litigation ensued, based on concerns about free speech, free

exercise, and other constitutional violations. Id. Ms. Leriche cautioned the legislature

“to focus on alternative approaches” such as “a public awareness and education
                                                                                           Formatted: Font: Italic
campaign.” Id. Regardless, SB 37 was passed by the Vermont Legislature passed SB
                                                                                           Formatted: Font: Italic
37, includingcontaining Section 8 and its “targeting” provisions. Id.
      B.     The Provider Restriction

      123.137.      The Act also requires that “[h]ealth care providers certified,
registered, or licensed under Title 26 of the Vermont Statutes Annotated who are
employed by, contracted to provide services for or on behalf of, or volunteer to provide

services at a limited-services pregnancy center shall be responsible for conducting

and providing health care services, information, and counseling at the center.” 9
V.S.A. § 2493(b) (“the Provider Restriction”).
      138.   It further provides that these licensed health care professionals must

“conduct or [] ensure that health care services, information, and counseling at the

limited-services pregnancy services center are conducted in accordance with State

law and professional standards of practice.” Id. In other words, if

      139.   It is unclear whether these provisions require a health care provider to

personally “conduct[] and provid[e] health care services, information, and counseling

at the center,” as the first sentence suggests, or merely to supervise non-licensed
health care professionals to “ensure that health care services, information, and

counseling . . . are conducted in accordance with State law and professional standards
of practice,” as the second sentence implies. Id.


                                          21
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 22 of 67




      124.140.      If a violation of the Provider Restriction occurs, any licensed
health care provider at the clinic could be professionally disciplined for that violation.,

whether or not that health care provider has supervisory authority. Id.
      125.141.      A “health care provider” is “a person who provides professional

health care services to an individual during that individual’s medical care, treatment,

or confinement.” 26 V.S.A. § 1354(d)(2)(A).

      126.142.      Health care providers licensed under Title 26 include, among

others,   medical   doctors,   nurses,   physician    assistants,   osteopathic   doctors,

pharmacists, radiologists and radiology assistants, psychologists, clinical mental
health counselors, marriage and family therapists, psychoanalysts, psychotherapists,
naturopathic physicians, and midwives.

      127.143.      The provider restriction does not define “health care services.”
However, the term is defined elsewhere in SB 37 as “services for the diagnosis,
prevention, treatment, cure, or relief of a physical or mental health condition,

including procedures, products, devices, and medications.” 3 V.S.A. § 129a(f)(2)(B); 26

V.S.A. § 1354(d)(2)(B).
      128.144.      The provider restriction defines “health information” as “any oral
or written information in any form or medium that relates to . . . the past, present, or
future physical or mental health or condition of a client.” 9 V.S.A. § 2492(4).

      129.145.      The provider restriction does not define “counseling” at all.

      130.146.      Like the Advertising Prohibition, the provider restriction applies

only to “limited-services pregnancy center[s].” 9 V.S.A. § 2493(b).

      131.147.      The Board of Medical Practice, which is housed by the

Department of Health, may investigate complaints against medical doctors (M.D.s)
for violation of the provider restriction submitted by “[a]ny individual, organization,

or public officer” or may “act on its own initiative without having received a

complaint.” 26 V.S.A. §§ 1353(2); 1370(a)(1).


                                            22
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 23 of 67




      132.148.      “If the investigative committee determines that an evidentiary
hearing is warranted,” the Board may enforce the provider restriction against a

medical doctor (M.D.) by holding a disciplinary hearing. Id. §§ 1354(c), 1370(b)(3).

      133.149.      If the State shows “by a preponderance of the evidence” that the

doctor violated the provider restriction, id. § 1354(c), the Board may issue a formal

reprimand; “condition, limit, suspend, or revoke” the doctor’s license, or “impos[e] an

administrative penalty of not more than $1,000” per violation, id. § 1374(b)(1)(A).
      134.150.      The Office of Professional Regulation, which is housed by the
Secretary of State, is responsible for enforcing the provider restriction against all
other licensed health care providers. 3 V.S.A. § 129a.

      135.151.      The Director of the Office of Professional Regulation or a board

within the Office of Professional Regulation “shall receive complaints from any

source” concerning violations of the provider restriction or “may investigate without
receiving a complaint.” Id. § 129(b).
      136.1. Christel Tonoki, a University of Vermont student, testified to the Senate

Committee on Health and Welfare that she along with other students “excitedly”

planned to “storm these [crisis pregnancy centers] . . . and kinda just drain them of
their resources . . . and basically play their game… and take part [air quotes] in their
services.” An Act Relating to Access to Legally Protected Health Care Activity and

Regulation of Health Care Providers: Hearing on S.37 Before the S. Comm. on Health

and Welfare (Vt. 2023) (statement by witness Christel Tonoki).

      137.152.      “Boards and administrative law officers” falling under the Office

of Professional Regulation may hold a disciplinary hearing on alleged violations of
the provider restriction. 3 V.S.A. § 129(c).

      138.153.      If the State shows “by a preponderance of the evidence” that the

health care provider violated the provider restriction, the board or administrative law




                                           23
               Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 24 of 67




officer may “impos[e] an administrative penalty not to exceed $5,000.00 for each

professional conduct violation.” Id. § 129a(c), (d)(1).

       139.154.      The board or administrative law officer may also “issue warnings
or reprimands, suspend, revoke, limit, condition, deny, or prevent renewal of

licenses.” Id. § 129(a)(3).

       140.155.      It is unclear whether drug-store pregnancy tests, like those

provided by Branches, fit into the Provider Restriction’s definition of “health care

services.”
       141.156.      It is also unclear whether “health care services” would include the

collection of information from clients about the date of their last menstrual period,
their sexual history, or their pregnancy symptoms.

       142.157.      It is unclear whether “healthcare information” is broad enough to
include all information about pregnancy, abortion, and childbirth, regardless of
whether that information is medical.

       143.158.      It is likewise unclear whether “health care services” would
include a woman who visits Branchesa pregnancy center and obtains a free

pregnancy test from staff to take and read the results alone in the bathroom to even

confirm whether she is indeed pregnant.
       144.159.      It is unclear whether “counseling” is meant to apply narrowly to

informed consent or mental health counseling or broadly to any person at a pregnancy

center who might talk with a woman about whether to have an abortion, or counsel

her concerning pregnancy, pregnancy prevention, parenting, or childbirth.
       145.160.      It is also unclear whether pregnancy, motherhood, or post-

abortion support groups might qualify as services or counseling under the provider
restriction.

       146.161.      Under the provider restriction, if a pregnancy center staff
member who is not a licensed healthcare provider so much as discusses a client’s


                                            24
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 25 of 67




pregnancy (a health condition) with her, the unlicensed provider has arguably
violated the law.provides a pregnancy test (a health care service), discusses a client’s

pregnancy with her (counseling about a health condition), or provides her with a list
of possible complications of abortion (health care information), any licensed provider

at that center may be subject to professional discipline for not personally “conducting
and providing health care services, information, and counseling at the center” or for

not ensuring that only licensed providers conduct and provide such services,

counseling, and information . 9 V.S.A. § 2493(b).
      147.   It also arguably prohibits unlicensed providers from providing a client

with a printed list of possible complications of chemical abortion (written information
related to pregnancy).

      162.   The provider restriction harms pregnancy centers by preventingChristel
Tonoki, a University of Vermont student, testified to the Senate Committee on Health

and Welfare that she along with other students “excitedly” planned to “storm these

[crisis pregnancy centers] . . . and kinda just drain them of their resources . . . and
basically play their game… and take part [air quotes] in their services.” An Act

Relating to Access to Legally Protected Health Care Activity and Regulation of Health
Care Providers: Hearing on S.37 Before the S. Comm. on Health and Welfare (Vt.
2023) (statement by witness Christel Tonoki).



      163.
      148.164.      Thus, Aspire’s medical staff (and the medical staff of other NIFLA

members that have medical staff) face a credible threat of enforcement under the

provider restriction if they continue to allow their non-medical staff and volunteers

from providing clients with information about their pregnancy options and counseling

clients about those options.



                                          25
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 26 of 67




      149.   It also harms pregnancy centers by prohibiting peer counseling.
      150.165.      The same standard does not apply to abortion clinics. Planned

Parenthood of Northern New England’s Vice President of Vermont Public Affairs, Ms.
Lucy Leriche, testified that even Planned Parenthood staff that provide ultrasounds

need only be “privileged” by their local Planned Parenthood. In other words, these
staff members need not be licensed medical providers. An Act Relating to Access to

Legally Protected Health Care Activity and Regulation of Health Care Providers:

Hearing on S.37 Before the H. Comm. on Health Care (Vt. 2023) (statement by witness
Ms. Lucy Leriche). In other words, these staff members need not be licensed medical

providers. Id.
      151.166.      The provider restriction is also preventsunclear as to whether

non-medical pregnancy centers, like Branches, from providing clients with

information or counseling about pregnancy options without hiring medical staff.
      152.167.      In practice, this meanswould mean that all pregnancy centers—

including those who, like Branches, do not provide medical services—will need to hire
licensed health care providers to provide information and counseling on any aspect of

pregnancy, childbirth, abortion, or other health issue clients wish to discuss.

      153.168.      Under the Provider Restriction, Branches’ non-medical staff and
volunteers will be unable to continue counselingmay be subject to punishment for

continuing to provide over-the-counter pregnancy tests, to counsel clients concerning

their pregnancy-related concerns and decisions, and to provide clients with

information related to their pregnancy, or else be subject to penalties for violating the

Provider Restriction. See 3 V.S.A. § 127 (providing that “[a] person practicing a
regulated profession without authority or an employer permitting such practice may,

upon the complaint of the Attorney General or a State’s Attorney or an attorney

assigned by the Office of Professional Regulation, be enjoined therefrom by the
Superior Court . . . and may be assessed a civil penalty of not more than $5,000,” or


                                           26
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 27 of 67




“imprison[ed] for not more than one year, or both”); 26 V.S.A. § 1353(7) (giving the

Board of Medical Practice the power to “[i]nvestigate all complaints of illegal practice

of medicine and refer any substantiated” complaints to the attorney general).
                                      COUNT I

             The Advertising Prohibition Violates the Free Speech
            Clause of the First Amendment to the U.S. Constitution
       154.169.      Plaintiffs incorporate by reference paragraphs 1 through 151165.

       155.170.      The Free Speech Clause of the First Amendment prohibits States
from making any law “abridging the freedom of speech.” U.S. Const. amend. I.
       156.171.      Because Plaintiffs do not charge for their services, the
Advertising Prohibition, 9 V.S.A. § 2493(a), regulates Plaintiffs’ non-commercial
speech.

       157.172.      Because the Advertising Prohibition applies only to limited-
services pregnancy centers, or those that do not provide or refer for abortion or
“emergency contraception,” it constitutes impermissible viewpoint discrimination.

       158.173.      The Advertising Prohibition regulates the Plaintiffs’ speech on

the basis of its content.

       159.174.      Content-based restrictions on speech can stand only if they

survive strict scrutiny, which requires the State to prove that the restriction furthers
a compelling interest and is narrowly tailored to achieve that interest.

       160.175.      The Advertising Prohibition is also unconstitutionally overbroad.

       161.176.      The Advertising Prohibition does not advance any legitimate,

much less compelling, state interest and fails any level of constitutional scrutiny.
       162.177.      The Advertising Prohibition does not advance the State’s

interests in protecting maternal health and safety or in preserving the integrity of

the medical profession.




                                          27
             Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 28 of 67




      163.178.      Nor is the Advertising Prohibition the least restrictive means of
advancing the State’s interests.

      164.179.      The Advertising Prohibition is not narrowly tailored because it is
both overinclusive and underinclusive.

      165.180.      Therefore, the Advertising Prohibition violates the Free Speech
Clause of the First Amendment both on its face and as applied to Plaintiffs.

                                      COUNT II

             The Provider Restriction Violates the Free Speech
           Clause of the First Amendment to the U.S. Constitution
      166.181.      Plaintiffs incorporate by reference paragraphs 1 through
151165.

      167.182.      The Free Speech Clause of the First Amendment prohibits States
from making any law “abridging the freedom of speech.” U.S. Const. amend. I.

      168.183.      Because Plaintiffs do not charge for their services, the Provider

Restriction, 9 V.S.A. § 2493(b), regulates Plaintiffs’ non-commercial speech.
      169.184.      The Provider Restriction is a viewpoint- and content-based

regulation of pure speech because it directly regulates speech about health-care-

related “information” and “counseling” by “limited-services pregnancy centers,” even
when no medical treatment or procedure is involved. 9 V.S.A. § 2493(b).
      170.185.      Because the Provider Restriction is not tied to a specific medical
procedure or treatment that Plaintiffs perform, it is not an informed-consent

requirement.
      171.186.      The Provider Restriction is also unconstitutionally overbroad.
      172.187.      Because “information” and “counseling” are pure speech, strict

scrutiny applies.

      173.188.      The Provider Restriction does not advance any legitimate, let

alone compelling, state interest and fails any level of constitutional scrutiny.



                                          28
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 29 of 67




       174.189.      The Provider restriction is not narrowly tailored because it is both
overinclusive and underinclusive.

       175.190.      Therefore, the Provider Restriction violates the Free Speech
Clause of the First Amendment both on its face and as applied to Plaintiffs.

                                       COUNT III

          The Advertising Prohibition Violates the Due Process Clause
             of the Fourteenth Amendment to the U.S. Constitution
       176.191.      Plaintiffs reincorporate by reference paragraphs 1 through

151165.
       177.192.      The Fourteenth Amendment’s Due Process Clause prohibits

States from enacting vague laws.
       178.193.      A statute is unconstitutionally vague in violation of the Due

Process Clause if it (1) fails to provide a person of ordinary intelligence with fair notice

of what is prohibited, or (2) is so standardless that it authorizes or encourages
seriously discriminatory enforcement.
       179.194.      The    Advertising     Prohibition,    9   V.S.A.    §   2493(a),    is
unconstitutionally vague because it fails to define relevant terms, fails to provide

Plaintiffs with fair notice of what is prohibited, and encourages discriminatory
enforcement against pro-life viewpoints.
       180.195.      The terms “cause to be disseminated,” “proposed services,”
andterm “mislead” areis undefined and unconstitutionally vague.

       181.196.      Therefore, the Advertising Prohibition violates the Due Process

Clause of the Fourteenth Amendment both on its face and as applied to Plaintiffs.




                                            29
              Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 30 of 67




                                       COUNT IV

      The Provider Restriction Violates the Due Process Clause of the
             Fourteenth Amendment to the U.S. Constitution
       182.197.      Plaintiffs reincorporate by reference paragraphs 1 through

151153.
       183.198.      The Fourteenth Amendment’s Due Process Clause prohibits

States from enacting vague laws.

       184.199.      A statute is unconstitutionally vague in violation of the Due
Process Clause if it (1) fails to provide a person of ordinary intelligence with fair notice

of what is prohibited, or (2) is so standardless that it authorizes or encourages
seriously discriminatory enforcement.
       185.200.      The provider restriction, 9 V.S.A. § 2493, is unconstitutionally
vague because it fails to define relevant terms, fails to provide Plaintiffs with fair

notice of what is prohibited, and encourages discriminatory enforcement against pro-
life viewpoints.
       186.201.      The terms “health care services,” “information,” and “counseling”
are unconstitutionally vague.

       202.   The Provider Restriction is also vague because it is unclear whether it
requires licensed health care providers to personally provide or conduct all health

care services, information, and counseling.
       203.   Finally, the Provider Restriction is vague because it is unclear whether

it subjects pregnancy centers without any licensed providers to penalties for
providing over-the-counter pregnancy tests, publicly available health care

information about health conditions such as pregnancy, childbirth, abortion, or

sexually transmitted diseases, and peer counseling about topics such as pregnancy

options or post-abortion recovery.




                                            30
            Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 31 of 67




      187.204.     Therefore, the provider restriction violates the Due Process
Clause of the Fourteenth Amendment both on its face and as applied to Plaintiffs.


                             PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs respectfully requests that this Court:

      A.    Accept jurisdiction in this case;

      B.    Enter a declaratory judgment adjudging and declaring that 9 V.S.A.
            section 2493 violates the First and Fourteenth Amendments to the

            U.S. Constitution;
      C.    Enter an injunction permanently enjoining Defendants and their agents

            from enforcing 9 V.S.A. section 2493 and 3 V.S.A. section 129a(a)(29)..

      D.    Issue the requested injunctive relief without condition of bond or other
            security being required of Plaintiffs;

      E.    Award Plaintiffs attorney fees and costs against the Defendants

            pursuant to 42 U.S.C. section 1988; and
      F.    Award such other and further relief as it deems equitable and just.




                                         31
            Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 32 of 67




This 24th25th day of JulyOctober, 2023.
                                  s/ Michael Tierney
                                  Michael Tierney
                                  VT Bar No. 5275
                                  Gretchen M. Wade*
                                  NH Bar No. 273726
                                  WADLEIGH, STAR & PETERS, P.L.L.C.
                                  95 Market Street
                                  Manchester, NH 03101
                                  Telephone: (603) 669-4140
                                  Facsimile: (603) 669-6018
                                  mtierney@wadleighlaw.com
                                  gwade@wadleighlaw.com

                                  Denise M. Harle*
                                  GA Bar No. 176758
                                  ALLIANCE DEFENDING FREEDOM
                                  1000 Hurricane Shoals Rd, NE, Suite D-1100
                                  Lawrenceville, GA 30043
                                  Telephone: (770) 339-0774
                                  Facsimile: (770) 339-6744
                                  dharle@ADFlegal.org

                                  Julia C. Payne*
                                  IN Bar No. 34728-53
                                  ALLIANCE DEFENDING FREEDOM
                                  15100 North 90th Street
                                  Scottsdale, Arizona 85260
                                  Telephone: (480) 444-0020
                                  Facsimile: (480) 444-0028
                                  jpayne@ADFlegal.org


                                  Counsel for Plaintiffs

                                   *Motion forAdmitted pro hac vice admission   Formatted: Font: Not Italic
                                    filed concurrently                          Formatted: Font: Italic




                                          32
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 33 of 67




            EXHIBIT A
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 34 of 67




 No. 15                                                                Page 1 of 29
 2023

 No. 15. An act relating to access to legally protected health care activity
 and regulation of health care providers.

                                       (S.37)

 It is hereby enacted by the General Assembly of the State of Vermont:

                                * * * Definitions * * *

 Sec. 1. 1 V.S.A. § 150 is added to read:

 § 150. LEGALLY PROTECTED HEALTH CARE ACTIVITY

    (a) “Gender-affirming health care services” means all supplies, care, and

 services of a medical, behavioral health, mental health, surgical, psychiatric,

 therapeutic, diagnostic, preventative, rehabilitative, or supportive nature,

 including medication, relating to the treatment of gender dysphoria and gender

 incongruence. “Gender-affirming health care services” does not include

 conversion therapy as defined by 18 V.S.A. § 8351.

    (b)(1) “Legally protected health care activity” means:

          (A) the exercise and enjoyment, or attempted exercise and

 enjoyment, by any person of rights to reproductive health care services or

 gender-affirming health care services secured by this State;

          (B) any act or omission undertaken to aid or encourage, or attempt to

 aid or encourage, any person in the exercise and enjoyment, or attempted

 exercise and enjoyment, of rights to reproductive health care services or

 gender-affirming health care services secured by this State, provided that the

 provision of such a health care service by a person duly licensed under the

 laws of this State and physically present in this State shall be legally protected
                                                                     VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 35 of 67




 No. 15                                                                 Page 2 of 29
 2023

 if the service is permitted under the laws of this State, regardless of the

 patient’s location; or

             (C) the provision, issuance, or use of, or enrollment in, insurance or

 other health coverage for reproductive health care services or gender-affirming

 health care services that are legal in this State, or any act to aid or encourage,

 or attempt to aid or encourage, any person in the provision, issuance, or use of,

 or enrollment in, insurance or other health coverage for those services,

 regardless of the location of the insured or individual seeking insurance or

 health coverage, if the insurance or health coverage is permitted under the laws

 of this State.

          (2) Except as provided in subdivision (3) of this subsection, the

 protections applicable to “legally protected health care activity” shall not apply

 to a lawsuit; judgment; or civil, criminal, or administrative action that is based

 on conduct for which an action would exist under the laws of this State if the

 course of conduct that forms the basis for liability had occurred entirely in this

 State.

          (3) Notwithstanding subdivision (2) of this subsection, the provision of a

 health care service by a person duly licensed under the laws of this State and

 physically present in this State shall be legally protected if the service is

 permitted under the laws of this State, regardless of the patient’s location or

 whether the health care provider is licensed in the state where the patient is

 located at the time the service is rendered.

                                                                      VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 36 of 67




 No. 15                                                                Page 3 of 29
 2023

    (c)(1) “Reproductive health care services” means all supplies, care, and

 services of a medical, behavioral health, mental health, surgical, psychiatric,

 therapeutic, diagnostic, preventative, rehabilitative, or supportive nature,

 including medication, relating to pregnancy, contraception, assisted

 reproduction, pregnancy loss management, or the termination of a pregnancy.

       (2) “Reproductive health care services” includes medication that was

 approved by the U.S. Food and Drug Administration (FDA) for termination of

 a pregnancy as of January 1, 2023, regardless of the medication’s current FDA

 approval status:

          (A) when such medication is procured, ordered, stored, distributed,

 prescribed, dispensed, or administered, or a combination thereof, by a person

 duly licensed under the laws of this State, as long as the licensee’s actions

 conform to the essential standards of acceptable and prevailing practice for the

 licensee’s profession; or

          (B) when such medication is used by an individual.

                         * * * Medical Malpractice * * *

 Sec. 2. 8 V.S.A. chapter 129 is amended to read:

             CHAPTER 129. INSURANCE TRADE PRACTICES

                                       ***

 § 4722. DEFINITIONS

                                       ***




                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 37 of 67




 No. 15                                                                 Page 4 of 29
 2023

       (4)(A) “Abusive litigation” means litigation or other legal action to

 deter, prevent, sanction, or punish any person engaging in legally protected

 health care activity by:

             (i) filing or prosecuting any action in any other state where

 liability, in whole or part, directly or indirectly, is based on legally protected

 health care activity that occurred in this State, including any action in which

 liability is based on any theory of vicarious, joint, or several liability derived

 therefrom; or

             (ii) attempting to enforce any order or judgment issued in

 connection with any such action by any party to the action or any person acting

 on behalf of a party to the action.

          (B) A lawsuit shall be considered to be based on conduct that

 occurred in this State if any part of any act or omission involved in the course

 of conduct that forms the basis for liability in the lawsuit occurs or is initiated

 in this State, whether or not such act or omission is alleged or included in any

 pleading or other filing in the lawsuit.

       (5) “Legally protected health care activity” has the same meaning as in

 1 V.S.A. § 150.

                                        ***




                                                                      VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 38 of 67




 No. 15                                                                  Page 5 of 29
 2023

 § 4724. UNFAIR METHODS OF COMPETITION OR UNFAIR OR

          DECEPTIVE ACTS OR PRACTICES DEFINED

    The following are hereby defined as unfair methods of competition or unfair

 or deceptive acts or practices in the business of insurance:

                                         ***

       (7) Unfair discrimination; arbitrary underwriting action.

           (A) Making or permitting any unfair discrimination between insureds

 of the same class and equal risk in the rates charged for any contract of

 insurance, or in the dividends or other benefits payable thereon, or in any other

 of the terms and conditions of such contracts.

                                         ***

           (F)(i) Discriminating against a health care provider, as defined by

 18 V.S.A. § 9496, or adjusting or otherwise calculating a health care provider’s

 risk classification or premium charges on the basis that:

                  (I) the health care provider provides or assists in the provision

 of legally protected health care activity that is unlawful in another state;

                  (II) another state’s laws create potential or actual liability for

 that activity;

                  (III) abusive litigation against a provider concerning legally

 protected health care activity resulted in a claim, settlement, or judgement

 against the provider; or




                                                                       VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 39 of 67




 No. 15                                                                Page 6 of 29
 2023

                 (IV) the license of the provider has been disciplined in any way

 by another state based solely on the provider’s provision of legally protected

 health care activity.

             (ii) For purposes of this subdivision (F), it shall not be unfairly

 discriminatory nor an arbitrary underwriting action against a health care

 provider if the risk classifications, premium charges, or other underwriting

 considerations are based on factors other than those listed in subdivision (i) of

 this subdivision (F).

                                       ***

                          * * * Insurance Coverage * * *

 Sec. 3. 8 V.S.A. § 4088m is added to read:

 § 4088m. COVERAGE FOR GENDER-AFFIRMING HEALTH CARE

            SERVICES

    (a) Definitions. As used in this section:

       (1) “Gender-affirming health care services” has the same meaning as in

 1 V.S.A. § 150.

       (2) “Health insurance plan” means Medicaid and any other public health

 care assistance program, any individual or group health insurance policy, any

 hospital or medical service corporation or health maintenance organization

 subscriber contract, or any other health benefit plan offered, issued, or renewed

 for any person in this State by a health insurer as defined by 18 V.S.A. § 9402.

 For purposes of this section, health insurance plan includes any health benefit

                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 40 of 67




 No. 15                                                                Page 7 of 29
 2023

 plan offered or administered by the State or any subdivision or instrumentality

 of the State. The term does not include benefit plans providing coverage for a

 specific disease or other limited benefit coverage, except that it includes any

 accident and sickness health plan.

    (b) Coverage.

         (1) A health insurance plan shall provide coverage for gender-affirming

 health care services that:

            (A) are medically necessary and clinically appropriate for the

 individual’s diagnosis or health condition; and

            (B) are included in the State’s essential health benefits benchmark

 plan.

         (2) Coverage provided pursuant to this section by Medicaid or any other

 public health care assistance program shall comply with all federal

 requirements imposed by the Centers for Medicare and Medicaid Services.

         (3) Nothing in this section shall prohibit a health insurance plan from

 providing greater coverage for gender-affirming health care services than is

 required under this section.

    (c) Cost sharing. A health insurance plan shall not impose greater

 coinsurance, co-payment, deductible, or other cost-sharing requirements for

 coverage of gender-affirming health care services than apply to the diagnosis

 and treatment of any other physical or mental condition under the plan.




                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 41 of 67




 No. 15                                                               Page 8 of 29
 2023

 Sec. 4. 8 V.S.A. § 4099e is added to read:

 § 4099e. COVERAGE FOR ABORTION AND ABORTION-RELATED

           SERVICES

    (a) Definitions. As used in this section:

       (1) “Abortion” means any medical treatment intended to induce the

 termination of, or to terminate, a clinically diagnosable pregnancy except for

 the purpose of producing a live birth.

       (2) “Health insurance plan” means Medicaid and any other public health

 care assistance program, any individual or group health insurance policy, any

 hospital or medical service corporation or health maintenance organization

 subscriber contract, or any other health benefit plan offered, issued, or renewed

 for any person in this State by a health insurer as defined by 18 V.S.A. § 9402.

 For purposes of this section, health insurance plan shall include any health

 benefit plan offered or administered by the State or any subdivision or

 instrumentality of the State. The term shall not include benefit plans providing

 coverage for a specific disease or other limited benefit coverage, except that it

 shall include any accident and sickness health plan.

    (b) Coverage. A health insurance plan shall provide coverage for abortion

 and abortion-related care.

    (c) Cost sharing. The coverage required by this section shall not be subject

 to any co-payment, deductible, coinsurance, or other cost-sharing requirement

 or additional charge, except:

                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 42 of 67




 No. 15                                                                 Page 9 of 29
 2023

        (1) to the extent such coverage would disqualify a high-deductible

 health plan from eligibility for a health savings account pursuant to 26 U.S.C.

 § 223; and

        (2) for coverage provided by Medicaid.

 Sec. 5. STATE PLAN AMENDMENT

    The Agency of Human Services shall seek a state plan amendment from the

 Centers for Medicare and Medicaid Services or federal authorities if needed to

 allow Vermont’s Medicaid program to provide coverage consistent with this

 act.

                        * * * Professional Regulation * * *

 Sec. 6. 3 V.S.A. § 129a is amended to read:

 § 129a. UNPROFESSIONAL CONDUCT

    (a) In addition to any other provision of law, the following conduct by a

 licensee constitutes unprofessional conduct. When that conduct is by an

 applicant or person who later becomes an applicant, it may constitute grounds

 for denial of a license or other disciplinary action. Any one of the following

 items or any combination of items, whether the conduct at issue was

 committed within or outside the State, shall constitute unprofessional conduct:

                                         ***

        (7) Willfully making or filing false reports or records in the practice of

 the profession, willfully impeding or obstructing the proper making or filing of

 reports or records, or willfully failing to file the proper reports or records, or

                                                                      VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 43 of 67




 No. 15                                                                Page 10 of 29
 2023

 willfully providing inaccurate health or medical information to a patient,

 including purposeful misrepresentation of a patient’s health status.

                                        ***

       (29) Providing or claiming to provide services or medications that are

 purported to reverse the effects of a medication abortion.

                                        ***

    (f)(1) Health care providers. Notwithstanding subsection (e) of this section

 or any other law to the contrary, no health care provider who is certified,

 registered, or licensed in Vermont shall be subject to professional disciplinary

 action by a board or the Director, nor shall a board or the Director take adverse

 action on an application for certification, registration, or licensure of a

 qualified health care provider, based solely on:

          (A) the health care provider providing or assisting in the provision of

 legally protected health care activity; or

          (B) a criminal, civil, or disciplinary action in another state against the

 health care provider that is based solely on the provider providing or assisting

 in the provision of legally protected health care activity.

       (2) Definitions. As used in this subsection:

          (A) “Health care provider” means a person who provides

 professional health care services to an individual during that individual’s

 medical care, treatment, or confinement.




                                                                      VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 44 of 67




 No. 15                                                              Page 11 of 29
 2023

          (B) “Health care services” means services for the diagnosis,

 prevention, treatment, cure, or relief of a physical or mental health condition,

 including procedures, products, devices, and medications.

          (C) “Legally protected health care activity” has the same meaning as

 in 1 V.S.A. § 150.

 Sec. 7. 26 V.S.A. § 1354 is amended to read:

 § 1354. UNPROFESSIONAL CONDUCT

                                        ***

    (d)(1) Health care providers. Notwithstanding any other law to the

 contrary, no health care provider who is certified, registered, or licensed in

 Vermont shall be subject to professional disciplinary action by the Board, nor

 shall the Board take adverse action on an application for certification,

 registration, or licensure of a qualified health care provider, based solely on:

          (A) the health care provider providing or assisting in the provision of

 legally protected health care activity; or

          (B) a criminal, civil, or disciplinary action in another state against the

 health care provider that is based solely on the provider providing or assisting

 in the provision of legally protected health care activity.

       (2) Definitions. As used in this subsection:

          (A) “Health care provider” means a person who provides

 professional health care services to an individual during that individual’s

 medical care, treatment, or confinement.

                                                                     VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 45 of 67




 No. 15                                                               Page 12 of 29
 2023

          (B) “Health care services” means services for the diagnosis,

 prevention, treatment, cure, or relief of a physical or mental health condition,

 including procedures, products, devices, and medications.

          (C) “Legally protected health care activity” has the same meaning as

 in 1 V.S.A. § 150.

                          * * * Pregnancy Centers * * *

 Sec. 8. 9 V.S.A. chapter 63, subchapter 11 is added to read:

                   Subchapter 11. Pregnancy Services Centers

 § 2491. FINDINGS; LEGISLATIVE INTENT

    (a) Findings. The General Assembly finds that:

       (1) Centers that seek to counsel clients against abortion, often referred to

 as crisis pregnancy centers or limited-services pregnancy centers, have become

 common across the country, including in Vermont. Accurate information

 about the services that a limited-services pregnancy center performs, in

 addition to forthright acknowledgement of its limitations, is essential to enable

 individuals in this State to make informed decisions about their care. This

 includes individuals being informed of whether they are receiving services

 from a licensed and qualified health care provider at a limited-services

 pregnancy center, as this allows individuals to determine if they need to seek

 medical care elsewhere in order to continue or terminate a pregnancy.

       (2) Although some limited-services pregnancy centers openly

 acknowledge in their advertising, on their websites, and at their facilities that

                                                                     VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 46 of 67




 No. 15                                                                 Page 13 of 29
 2023

 they neither provide abortions nor refer clients to other providers of abortion

 services, others provide confusing and misleading information to pregnant

 individuals contemplating abortion by leading those individuals to believe that

 their facilities offer abortion services and unbiased counseling. Some limited-

 services pregnancy centers have promoted patently false or biased medical

 claims about abortion, pregnancy, contraception, and reproductive health care

 providers.

       (3) False and misleading advertising by centers that do not offer or refer

 clients for abortion is of special concern to the State because of the time-

 sensitive and constitutionally protected nature of the decision to continue or

 terminate a pregnancy. When a pregnant individual is misled into believing

 that a center offers services that it does not in fact offer or receives false or

 misleading information regarding health care options, the individual loses time

 crucial to the decision whether to terminate a pregnancy and may lose the

 option to choose a particular method or to terminate a pregnancy at all.

       (4) Telling the truth is how trained health care providers demonstrate

 respect for patients, foster trust, promote self-determination, and cultivate an

 environment where best practices in shared decision-making can flourish.

 Without veracity in information and communication, it is difficult for

 individuals to make informed, voluntary choices that are essential to one’s

 sense of personal agency and autonomy.




                                                                       VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 47 of 67




 No. 15                                                             Page 14 of 29
 2023

       (5) Advertising strategies and educational information about health care

 options that lack transparency, use misleading or ambiguous terminology,

 misrepresent or obfuscate services provided, or provide factually inaccurate

 information are a form of manipulation that disrespects individuals,

 undermines trust, broadens health disparity, and can result in patient harm.

    (b) Intent.

       (1) It is the intent of the General Assembly to ensure that the public is

 provided with accurate, factual information about the types of health care

 services that are available to pregnant individuals in this State. The General

 Assembly respects the constitutionally protected right of each individual to

 personal reproductive autonomy, which includes the right to receive clear,

 honest, and nonmisleading information about the individual’s options and to

 make informed, voluntary choices after considering all relevant information.

       (2) The General Assembly respects the right of limited-services

 pregnancy centers to counsel individuals against abortion, and nothing in this

 subchapter should be construed to regulate, limit, or curtail such advocacy.

 § 2492. DEFINITIONS

    As used in this subchapter:

       (1) “Abortion” means any medical treatment intended to induce the

 termination of, or to terminate, a clinically diagnosable pregnancy except for

 the purpose of producing a live birth.




                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 48 of 67




 No. 15                                                               Page 15 of 29
 2023

         (2) “Client” means an individual who is inquiring about or seeking

 services at a pregnancy services center.

         (3) “Emergency contraception” means any drug approved by the U.S.

 Food and Drug Administration as a contraceptive method for use after sexual

 intercourse, whether provided over the counter or by prescription.

         (4) “Health information” means any oral or written information in any

 form or medium that relates to health insurance or the past, present, or future

 physical or mental health or condition of a client.

         (5) “Limited-services pregnancy center” means a pregnancy services

 center that does not directly provide, or provide referrals to clients for,

 abortions or emergency contraception.

         (6) “Pregnancy services center” means a facility, including a mobile

 facility, where the primary purpose is to provide services to individuals who

 are or may be pregnant and that either offers obstetric ultrasounds, obstetric

 sonograms, or prenatal care to pregnant individuals or has the appearance of a

 medical facility. A pregnancy services center has the appearance of a medical

 facility if two or more of the following factors are present:

           (A) The center offers pregnancy testing or pregnancy diagnosis, or

 both.

           (B) The center has staff or volunteers who wear medical attire or

 uniforms.

           (C) The center contains one or more examination tables.

                                                                      VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 49 of 67




 No. 15                                                              Page 16 of 29
 2023

          (D) The center contains a private or semiprivate room or area

 containing medical supplies or medical instruments.

          (E) The center has staff or volunteers who collect health information

 from clients.

          (F) The center is located on the same premises as a State-licensed

 medical facility or provider or shares facility space with a State-licensed

 medical provider.

       (7) “Premises” means land and improvements or appurtenances or any

 part thereof.

 § 2493. UNFAIR AND DECEPTIVE ACT

    (a) It is an unfair and deceptive act and practice in commerce and a

 violation of section 2453 of this title for any limited-services pregnancy center

 to disseminate or cause to be disseminated to the public any advertising about

 the services or proposed services performed at that center that is untrue or

 clearly designed to mislead the public about the nature of services provided.

 Advertising includes representations made directly to consumers; marketing

 practices; communication in any print medium, such as newspapers,

 magazines, mailers, or handouts; and any broadcast medium, such as television

 or radio, telephone marketing, or advertising over the Internet such as through

 websites and web ads. For purposes of this chapter, advertising or the

 provision of services by a limited-services pregnancy center is an act in

 commerce.

                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 50 of 67




 No. 15                                                               Page 17 of 29
 2023

    (b) Health care providers certified, registered, or licensed under Title 26 of

 the Vermont Statutes Annotated who are employed by, contracted to provide

 services for or on behalf of, or volunteer to provide services at a limited-

 services pregnancy center shall be responsible for conducting and providing

 health care services, information, and counseling at the center. The failure of a

 health care professional certified, registered, or licensed under Title 26 of the

 Vermont Statutes Annotated to conduct or to ensure that health care services,

 information, and counseling at the limited-services pregnancy services center

 are conducted in accordance with State law and professional standards of

 practice may constitute unprofessional conduct under 3 V.S.A. § 129a and

 26 V.S.A. § 1354.

    (c) The Attorney General has the same authority to make rules, conduct

 civil investigations, and bring civil actions with respect to violations of

 subsection (a) of this section as provided under subchapter 1 of this chapter.

                     * * * Reports; Interstate Compacts * * *

 Sec. 9. 18 V.S.A. § 9405 is amended to read:

 § 9405. STATE HEALTH IMPROVEMENT PLAN; HEALTH RESOURCE

          ALLOCATION PLAN

                                        ***

    (b) The Green Mountain Care Board, in consultation with the Secretary of

 Human Services or designee, shall publish on its website the Health Resource

 Allocation Plan identifying Vermont’s critical health needs, goods, services,

                                                                     VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 51 of 67




 No. 15                                                              Page 18 of 29
 2023

 and resources, which shall be used to inform the Board’s regulatory processes,

 cost containment and statewide quality of care efforts, health care payment and

 delivery system reform initiatives, and any allocation of health resources

 within the State. The Plan shall identify Vermont residents’ needs for health

 care services, programs, and facilities; the resources available and the

 additional resources that would be required to realistically meet those needs

 and to make access to those services, programs, and facilities affordable for

 consumers; and the priorities for addressing those needs on a statewide basis.

 The Board may expand the Plan to include resources, needs, and priorities

 related to the social determinants of health. The Plan shall be revised

 periodically, but not less frequently than once every four years.

                                       ***

       (3) The Board shall receive and consider public input on the Plan at a

 minimum of one Board meeting and one meeting of the Advisory Committee

 and shall give interested persons an opportunity to submit their views orally

 and in writing.

       (4) The Board shall include reproductive health care services and

 gender-affirming health care services, as those terms are defined in 1 V.S.A.

 § 150, in its Plan analysis.

       (5) As used in this section:




                                                                     VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 52 of 67




 No. 15                                                               Page 19 of 29
 2023

          (A) “Health resources” means investments into the State’s health care

 system, including investments in personnel, equipment, and infrastructure

 necessary to deliver:

                                        ***

 Sec. 9a. AGENCY OF HUMAN SERVICES; STATE HEALTH

          ASSESSMENT; COMMUNITY PROFILES

    The Agency of Human Services shall work with LGBTQA+ community

 stakeholders and health care providers during the upcoming State Health

 Assessment and Community Profiles community engagement processes to

 explore barriers to equitable access to gender-affirming health care services, as

 defined in 1 V.S.A. § 150.

 Sec. 10. BOARD OF MEDICAL PRACTICE; OFFICE OF PROFESSIONAL

          REGULATION; INTERSTATE COMPACTS; REPORT

    On or before November 1, 2025, the Office of Professional Regulation, in

 consultation with the Board of Medical Practice, shall submit a report to the

 House Committee on Health Care and the Senate Committee on Health and

 Welfare with findings and recommendations for legislative action to address

 any concerns regarding the State’s participation, or contemplated participation,

 in interstate licensure compacts as a result of the provisions of this act,

 including the State’s participation in the Nurse Licensure Compact pursuant to

 26 V.S.A. chapter 28, subchapter 5 and the Interstate Medical Licensure

 Compact pursuant to 26 V.S.A. chapter 23, subchapter 3A.

                                                                     VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 53 of 67




 No. 15                                                                Page 20 of 29
 2023

 Sec. 10a. 26 V.S.A. chapter 56 is amended to read:

       CHAPTER 56. OUT-OF-STATE TELEHEALTH LICENSURE &

              REGISTRATION AND INTERSTATE COMPACTS

        Subchapter 1. Out-of-State Telehealth Licensure and Registration

                                         ***

       Subchapter 2. Interstate Compacts; Health Care Provider Compacts

 § 3071. HEALTH CARE PROVIDER COMPACTS; DIRECTION TO

          VERMONT REPRESENTATIVES

    (a) The General Assembly finds that a state’s prohibition of or limitation on

 the provision of gender-affirming health care services or reproductive health

 care services, or both, as defined by 1 V.S.A. § 150, prohibits health care

 providers from following health care best practices and is a failure on the part

 of the state to provide health care services that are medically necessary and

 clinically appropriate for its residents. Therefore, it is the General Assembly’s

 intent to protect the ability of professionals licensed, certified, or registered in

 Vermont, and professionals from other member states seeking to practice a

 profession in Vermont pursuant to an interstate compact or agreement, to have

 the benefit of compacts and agreements while at the same time engaging in,

 providing, or otherwise facilitating, personally or professionally, gender-

 affirming health care and reproductive health care services.

    (b) Vermont’s representative or delegate for an interstate compact or

 agreement related to health care shall seek an amendment or exception to the

                                                                       VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 54 of 67




 No. 15                                                               Page 21 of 29
 2023

 language, rules, directives, or bylaws of the compact or agreement, as

 necessary, so that if a licensee is disciplined by another state solely for

 providing or assisting in the provision of gender-affirming health care services

 or reproductive health care services that would be legal and meet professional

 standards of care if provided in Vermont, the compact or agreement does not

 require that Vermont take professional disciplinary action against the licensee.

                       * * * Emergency Contraception * * *

 Sec. 11. 26 V.S.A. chapter 36, subchapter 1 is amended to read:

                         Subchapter 1. General Provisions

                                        ***

 § 2022. DEFINITIONS

    As used in this chapter:

                                        ***

       (22) “Emergency contraception” means any drug approved by the U.S.

 Food and Drug Administration as a contraceptive method for use after sexual

 intercourse, whether provided over the counter or by prescription.

 § 2023. CLINICAL PHARMACY; PRESCRIBING

                                        ***

    (b) A pharmacist may prescribe in the following contexts:

                                        ***

       (2) State protocol.




                                                                     VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 55 of 67




 No. 15                                                               Page 22 of 29
 2023

          (A) A pharmacist may prescribe, order, or administer in a manner

 consistent with valid State protocols that are approved by the Commissioner of

 Health after consultation with the Director of Professional Regulation and the

 Board and the ability for public comment:

                                        ***

             (ix) emergency prescribing of albuterol or glucagon while

 contemporaneously contacting emergency services; and

             (x) tests for SARS-CoV for asymptomatic individuals or related

 serology for individuals by entities holding a Certificate of Waiver pursuant to

 the Clinical Laboratory Amendments of 1988 (42 U.S.C. § 263a); and

             (xi) emergency contraception.

                                        ***

 Sec. 11a. 26 V.S.A. § 2077 is added to read:

 § 2077. EMERGENCY CONTRACEPTION; VENDING MACHINES

    (a) A retail or institutional drug outlet licensed under this chapter or a

 postsecondary school, as defined in and subject to 16 V.S.A. § 176, may make

 over-the-counter emergency contraception and other nonprescription drugs or

 articles for the prevention of pregnancy or conception available through a

 vending machine or similar device.

    (b) Notwithstanding any provision of subsection 2032(h) of this chapter to

 the contrary, the Board may adopt rules in accordance with 3 V.S.A. chapter

 25 to regulate the location, operation, utilization, and oversight of the vending

                                                                     VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 56 of 67




 No. 15                                                             Page 23 of 29
 2023

 machines and similar devices described in subsection (a) of this section in a

 manner that balances consumer access with appropriate safeguards for theft

 prevention and safety.

               * * * Higher Education; Health Care Services * * *

 Sec. 12. 16 V.S.A. chapter 78 is added to read:

       CHAPTER 78. ACCESS TO REPRODUCTIVE AND GENDER-

                   AFFIRMING HEALTH CARE SERVICES

 § 2501. DEFINITIONS

    As used in this chapter:

       (1) “Gender-affirming health care readiness” means each institution’s

 preparedness to provide gender-affirming health care services to students or

 assist students in obtaining gender-affirming health care services, including

 having in place equipment, protocols, patient educational materials,

 informational websites, and training for staff; provided, however, that gender-

 affirming health care readiness may include the provision of gender-affirming

 health care services.

       (2) “Gender-affirming health care services” has the same meaning as in

 1 V.S.A. § 150.

       (3) “Institution” means the University of Vermont or a college in the

 Vermont State College system.

       (4) “Reproductive health care services” has the same meaning as in

 1 V.S.A. § 150.

                                                                   VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 57 of 67




 No. 15                                                              Page 24 of 29
 2023

       (5) “Reproductive health care readiness” means each institution’s

 preparedness to provide reproductive health care services to students or assist

 students in obtaining reproductive health care services, including having in

 place equipment, protocols, patient educational materials, informational

 websites, and training for staff; provided, however, that reproductive health

 care readiness may include the provision of reproductive health care services.

       (6) “Telehealth” has the same meaning as in 26 V.S.A. § 3052.

 § 2502. GENDER-AFFIRMING HEALTH CARE AND REPRODUCTIVE

          HEALTH CARE READINESS; REPORTS

    (a) Each institution shall report to the Agency of Human Services annually,

 on or before November 1, on the current status of its gender-affirming health

 care and reproductive health care readiness, including:

       (1) whether the institution has an operational health center on campus;

       (2) whether the institution employs health care providers on campus;

       (3) the types of gender-affirming health care services and reproductive

 health care services that the institution offers to its students on campus and the

 supports that the institution provides to students who receive those services;

       (4) the institution’s efforts to assist students with obtaining gender-

 affirming health care services and reproductive health care services from

 licensed health care professionals through telehealth;




                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 58 of 67




 No. 15                                                                Page 25 of 29
 2023

       (5) the institution’s proximity to a hospital, clinic, or other facility that

 provides gender-affirming health care services or reproductive health care

 services, or both, that are not available to students on campus;

       (6) the information that the institution provides regarding facilities that

 offer gender-affirming health care services and reproductive health care

 services that are not available to students on campus, including information

 regarding the scope of the services that are available at each such facility; and

       (7) the availability, convenience, and cost of public transportation

 between the institution and the closest facility that provides gender-affirming

 health care services or reproductive health care services, or both, and whether

 the institution provides transportation.

    (b) On or before January 31 of each year, the Agency of Human Services

 shall compile the materials submitted pursuant to subsection (a) of this section

 and report to the House Committees on Education, on Health Care, and on

 Human Services and the Senate Committees on Education and on Health and

 Welfare on the status of gender-affirming health care and reproductive health

 care readiness at Vermont’s institutions.

 Sec. 13. GENDER-AFFIRMING HEALTH CARE AND REPRODUCTIVE

          HEALTH CARE READINESS; IMPLEMENTATION

    Each institution shall submit its first report on the status of its gender-

 affirming health care and reproductive health care readiness as required under

 16 V.S.A. § 2502(a) to the Agency of Human Services on or before November

                                                                      VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 59 of 67




 No. 15                                                              Page 26 of 29
 2023

 1, 2023, and the Agency shall provide its first legislative report on or before

 January 31, 2024.

      * * * Prohibition on Disclosure of Protected Health Information * * *

 Sec. 14. 18 V.S.A. § 1881 is amended to read:

 § 1881. DISCLOSURE OF PROTECTED HEALTH INFORMATION

          PROHIBITED

    (a) As used in this section:

       (1) “Business associate” has the same meaning as in 45 C.F.R.

 § 160.103.

       (2) “Covered entity” shall have has the same meaning as in 45 C.F.R.

 § 160.103.

       (3) “Legally protected health care activity” has the same meaning as in

 1 V.S.A. § 150.

       (2)(4) “Protected health information” shall have has the same meaning

 as in 45 C.F.R. § 160.103.

       (5) “Telehealth” has the same meaning as in 26 V.S.A. § 3052.

    (b) A covered entity or business associate shall not disclose protected

 health information unless the disclosure is permitted under the Health

 Insurance Portability and Accountability Act of 1996 (HIPAA).

    (c) In order to protect patients and providers who engage in legally

 protected health care activity, a covered entity or business associate shall not

 disclose protected health information related to a legally protected health care

                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 60 of 67




 No. 15                                                               Page 27 of 29
 2023

 activity for use in a civil or criminal action; a proceeding preliminary to a civil

 or criminal action; or a probate, legislative, or administrative proceeding unless

 the disclosure meets one or more of the following conditions:

       (1) The disclosure is authorized by the patient or the patient’s

 conservator, guardian, or other authorized legal representative.

       (2) The disclosure is specifically required by federal law, Vermont law,

 or rules adopted by the Vermont Supreme Court.

       (3) The disclosure is ordered by a court of competent jurisdiction

 pursuant to federal law, Vermont law, or rules adopted by the Vermont

 Supreme Court. An order compelling disclosure under this subdivision shall

 include the court’s determination that good cause exists to require disclosure of

 the information related to legally protected health care activity.

       (4) The disclosure is to be made to a person designated by the covered

 entity or business associate and will be used solely in the defense of the

 covered entity or business associate against a claim that has been made, or

 there is a reasonable belief will be made, against the covered entity or business

 associate in a civil or criminal action; a proceeding preliminary to a civil or

 criminal action; or a probate, legislative, or administrative proceeding.

       (5) The disclosure is to Vermont’s Board of Medical Practice or Office

 of Professional Regulation, as applicable, in connection with a bona fide

 investigation in Vermont of a licensed, certified, or registered health care

 provider or a bona fide investigation of whether an individual who is not

                                                                      VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 61 of 67




 No. 15                                                              Page 28 of 29
 2023

 licensed, certified, or registered to practice a health care profession in Vermont

 engaged in unauthorized practice in this State, whether in person or through

 telehealth.

       (6) The disclosure is to the Vermont Department of Health or the

 Vermont Department of Disabilities, Aging, and Independent Living, or both,

 in connection with a bona fide investigation of a licensed health care facility in

 Vermont.

                            * * * Effective Dates * * *

 Sec. 15. EFFECTIVE DATES

    (a) This section, Sec. 1 (definitions), Sec. 2 (medical malpractice), Secs. 6

 and 7 (unprofessional conduct), Sec. 8 (pregnancy services centers), Secs. 9,

 9a, and 10 (reports and analyses), Sec. 11a (emergency contraception; vending

 machines), Secs. 12 and 13 (gender-affirming health care and reproductive

 health care readiness; reports), and Sec. 14 (prohibition on disclosure of

 protected health information) shall take effect on passage.

    (b) Secs. 3 and 4 (insurance coverage) shall take effect on January 1, 2024

 and shall apply to all health insurance plans issued on and after January 1,

 2024 on such date as a health insurer offers, issues, or renews the health

 insurance plan, but in no event later than January 1, 2025.

    (c) Sec. 5 (state plan amendment) shall take effect on January 1, 2024,

 except that the Agency of Human Services shall submit its request for approval

 of Medicaid coverage of the services prescribed in Sec. 4 of this act, if needed,

                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 62 of 67




 No. 15                                                              Page 29 of 29
 2023

 to the Centers for Medicare and Medicaid Services on or before July 1, 2023,

 and the Medicaid coverage shall begin on the later of the date of approval or

 January 1, 2024.

    (d) Sec. 10a (interstate compacts; state representatives) shall take effect on

 July 1, 2023.

    (e) Sec. 11 (emergency contraception) shall take effect on or before

 September 1, 2023, on such date as the Commissioner of Health approves the

 State protocol.

 Date Governor signed bill: May 10, 2023




                                                                    VT LEG #370566 v.1
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 63 of 67




            EXHIBIT B
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 64 of 67
Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 65 of 67




            EXHIBIT C
        Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 66 of 67




                              October 2023 Google Posts

  Date                            Post Content                                  Graphic

Oct 4       “I took several pills and I’m still pregnant.”
            “I only took the first dose (Mifeprex) and changed my
            mind.”

            Even if an abortion has already begun, give us a call. We     ●   Mifeprex
            can still help you talk through your options and give you     ●   Misoprostol
                                                                          ●   Abortion pill reversal*
            information on abortion pill reversal protocols if you        ●   Pregnant
            choose to continue your pregnancy. No one should take         ●   Pills
            away your reproductive choices.                               ●   Bleeding
                                                                          ●   Multiple pills
                                                                          ●   Reproductive choices**
            If you’ve taken multiple pills or packs of misoprostol and
            have not had heavy bleeding or passed the fetus, call us
            right away.

Oct 11      When did I conceive? Calculating a possible due date is
            difficult when most women do not know when they
            ovulated or the exact day they had unprotected sex.

            If you are looking for pregnancy help or abortion
                                                                          ●   Ovulation
            information, we’re here for you.
                                                                          ●   Conceive
                                                                          ●   Abortion Pill
            Because we do not profit from any decision you make,          ●   Unprotected sex
            you can talk through your options without pressure or         ●   Calculator
            coercion.                                                     ●   Due Date
                                                                          ●   Side effects

            Although our center does not provide the abortion pill or
            procedures, we can answer any questions you have
            about side effects, what to expect, and offer support after
            an abortion.

Oct 18      Some of the top questions we hear from women are:

               ●   How far along am I? How do I calculate my due
                   date?
               ●   How much does an abortion cost at a clinic?
                                                                          ●   Cost
               ●   Where can I get a free pregnancy test or
                                                                          ●   Clinic
                   ultrasound?                                            ●   Pill by mail
               ●   How early can pregnancy be detected?                   ●   Pregnancy test
               ●   Is the abortion pill by mail safe?                     ●   Ultrasound
                                                                          ●   “How early can
                                                                              pregnancy be
            If you think you may be pregnant or have had a positive           detected?”
            home test, contact us today for free consultations and        ●   Safe
            reproductive health services.                                 ●   Due date
                                                                          ●   “How long do you bleed
       Case 2:23-cv-00229-wks Document 42-1 Filed 10/25/23 Page 67 of 67




                                                                                 after the abortion pill.”
                                                                             ●   Free
                                                                             ●   Reproductive health**

 Oct 25      Pregnancy or PMS symptoms can often be similar.
             Feeling tired or nauseous? Sore breasts? Having to pee
             more than normal? Light spotting? These early
             pregnancy signs can show up even before a missed
             period.                                                         ●   PMS
                                                                             ●   Pregnancy Symptoms
                                                                             ●   Test
             Whether your pregnancy was planned or unplanned,                ●   Pregnancy Signs
             we’re your first step. If you think you may be pregnant,        ●   Pregnant
             contact us today for a free pregnancy test at our center. If    ●   Missed Period
                                                                             ●   Planned
             positive, we can explore your next steps, including why         ●   Parenthood
             having an ultrasound matters, information on abortion           ●   Abortion
                                                                             ●   Adoption
             and reproductive health choices, adoption, parenthood,          ●   “What is abortion”
             and more.                                                       ●   Ultrasound
                                                                             ●   Reproductive health**


*Praise God! Abortion pill reversal is trending right now at number 10! We’ve never seen it this
high. Please pray these posts do not get flagged. (Note: Women are also searching for things
about multiple pill packs and kits.)

**There is a spike in searches for reproductive health clinics. While we cannot show up for
abortion clinic searches through Google Business anymore, centers can and do show up for
reproductive health or clinic terms when optimized.
